        Case 3:17-cv-02107-RS Document 178 Filed 07/27/17 Page 1 of 3




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13
                                  UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
15
   FREE STREAM MEDIA CORP.                           Case No. 17-cv-02107-RS
16 d/b/a SAMBA TV,
                                                     DEFENDANTS’ REQUEST FOR
17                                Plaintiff,         JUDICIAL NOTICE IN SUPPORT OF
18                                                   MOTION TO DISMISS FREE STREAM
            v.
                                                     MEDIA CORP.’S FIRST AMENDED
19 ALPHONSO INC., ASHISH CHORDIA,                    COMPLAINT
   RAGHU KODIGE, and LAMPROS
20 KALAMPOUKAS,                                      Date:       August 31, 2017
                                                     Time:       1:30 p.m.
21                        Defendants.                Place:      Courtroom 3, 17th Floor
22                                                   Judge:      Hon. Richard Seeborg

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                                                                        Case No. 3:17-cv-02107-RS
                     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
        Case 3:17-cv-02107-RS Document 178 Filed 07/27/17 Page 2 of 3




 1                                REQUEST FOR JUDICIAL NOTICE
 2          Defendants Alphonso, Inc. (“Alphonso”), Ashish Chordia, Raghu Kodige, and Lampros

 3 Kalampoukas (collectively, the “Individual Defendants” and, with Alphonso, “Defendants”)

 4 respectfully request that the Court take judicial notice of the following documents cited in their

 5 Motion to Dismiss Plaintiff Free Stream Media Corp. d/b/a Samba TV’s First Amended

 6 Complaint for Patent Infringement (ECF No. 166).

 7                       MEMORANDUM OF POINTS AND AUTHORITIES
 8          Courts may take judicial notice of facts that are “not subject to reasonable dispute because

 9 [they] . . . can be accurately and readily determined from sources whose accuracy cannot

10 reasonably be questioned.” Fed. R. Evid. 201(b)(2). Judicial notice is proper and available “at

11 any stage of the proceeding,” Fed. R. Evid. 201(d), including on a Rule 12(b)(6) motion to

12 dismiss. See United States v. Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (allowing

13 judicial notice of “matters of public record” on Rule 12(b)(6) motion to dismiss where the facts to

14 be noticed are “not subject to reasonable dispute”); Lee v. City of Los Angeles, 250 F.3d 668, 688-

15 89 (9th Cir. 2001) (court may consider “matters of public record” subject to judicial notice on a

16 motion to dismiss pursuant to Rule 12(b)(6) motion without converting the motion to a motion for

17 summary judgment).

18          Defendants seek judicial notice of the following documents, which are judicially noticeable
19 for the reasons set forth below:

20          1.      Attached hereto as Exhibit A is a true and correct copy of U.S. Patent
21 No. 9,386,356 (the “‘356 patent”). See Declaration of Valerie Roddy, filed concurrently herewith

22 (“Roddy Decl.”), ¶ 2. The court “may take judicial notice of court filings and other matters of

23 public record.” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 (9th Cir. 2006).

24 “Patents are matters of public record and the proper subject of judicial notice.” X One, Inc. v.

25 Uber Techs., Inc., No. 16-CV-06050-LHK, 2017 WL 878381, at *4 (N.D. Cal. Mar. 6, 2017)

26 (internal citations omitted). Exhibit A is therefore judicially noticeable.

27          2.      Attached hereto as Exhibit B is a true and correct copy of a Memorandum Opinion
28 and Order filed March 29, 2017 in this action (ECF No. 125). See Roddy Decl. ¶ 3. “[A] court

                                                -1-                      Case No. 3:17-cv-02107-RS
                      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
        Case 3:17-cv-02107-RS Document 178 Filed 07/27/17 Page 3 of 3




 1 may take judicial notice of its own records.” United States v. Author Servs., Inc., 804 F.2d 1520,

 2 1422 (9th Cir. 1986), overruled on other grounds by United States v. Jose, 131 F.3d 1325 (9th Cir.

 3 1997). Exhibit B is therefore judicially noticeable.

 4          3.     Attached hereto as Exhibit C is a true and correct copy of U.S. Provisional Patent
 5 Application No. 61/118,286. See Roddy Decl. ¶ 4. Attached hereto as Exhibit D is a true and

 6 correct copy of U.S. Patent No. 5,948,061. Id. ¶ 5. Attached hereto as Exhibit E is a true and

 7 correct copy of U.S. Public Patent Application No. 2006/0195860. Id. ¶ 6. Exhibits C, D, and E

 8 are publicly-available patent applications and a patent cited on the face of the ‘356 patent. The

 9 Court may take judicial notice of references cited on the face of the patent being challenged. See,

10 e.g., Radware, Ltd. v. A10 Networks, Inc., No. C-13-02021-RMW, 2014 WL 61047, at *3 (N.D.

11 Cal. Jan. 7, 2014) (courts may take “judicial notice of prior art references, patents, and file

12 histories”); Parker v. Kimberly-Clark Corp., No. 11 C 5658, 2012 WL 74855, at *3 (N.D. Ill. Jan.

13 10, 2012) (“The Court takes judicial notice of this publicly available prior art reference.”).

14 Exhibits C, D, and E are therefore judicially noticeable.

15          4.     Attached hereto as Exhibit F is a true and correct copy of the Original Complaint
16 for Patent Infringement filed in Blue Spike, LLC v. Free Stream Media Corp., No. 6:12-CV-527

17 (E.D. Tex.) on August 14, 2012. The court “may take judicial notice of court filings and other

18 matters of public record.” Reyn’s Pasta Bella, 442 F.3d at 746. Exhibit F is therefore judicially
19 noticeable.

20          For the foregoing reasons, Defendants respectfully request that the Court grant this

21 Request for Judicial Notice.

22 DATED: July 27, 2017                        QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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24                                               By /s/ Valerie Roddy
25                                                 Valerie Roddy
                                                   Attorneys for Defendants
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                                               -2-                      Case No. 3:17-cv-02107-RS
                     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
